                Case 2:15-cr-00076-DAD Document 7 Filed 04/29/15 Page 1 of 1


1    BENJAMIN B. WAGNER
     United States Attorney
2    ELLIOT C. WONG
     Special Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, CA 95814
4    (916) 554-2700
5

6

7

8                                 IN THE UNITED STATES DISTRICT COURT

9                               FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                    ) CASE NO. 2:15-cr-00076-DAD
                                                  )
12                    Plaintiff,                  )
                                                  ) ORDER TO DISMISS
13                    v.                          ) HEATHER HOOVER
                                                  )
14   HEATHER HOOVER, and                          )
     BENJAMIN OLLIS,                              )
15                                                )
                      Defendants.                 )
16                                                )
                                                  )
17

18           It is hereby ordered that the plaintiff United States of

19   America’s Motion to Dismiss the Information against Heather Hoover

20   without prejudice is GRANTED.

21           IT IS SO ORDERED.

22   Dated: April 28, 2015

23

24

25
     dad1.crim
26   hoover0076.mtd.ord


27

28

29   ORDER TO DISMISS VIOLATION NOTICE
